                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ALLY LANDAU, HJSB, HJSC, and                         :
JEWS AT HAVERFORD                                    :
                                                     :               CIVIL ACTION
                         v.                          :               No. 24-2044
                                                     :
THE CORPORATION OF                                   :
HAVERFORD COLLEGE                                    :

McHUGH, J.                                                                           June 30, 2025

                                       MEMORANDUM

       As recognized in my first opinion in this action, dismissing Plaintiffs’ First Amended

Complaint, antisemitism is a serious problem. Where antisemitism results in a deprivation of

educational opportunities, federal law provides a remedy. And where the record supports it, some

federal courts have permitted parties to proceed with such claims. Here, without minimizing to

any degree the extent to which Jewish students in the tumult of the current global and political

climate might feel profound discomfort, Plaintiffs’ Second Amended Complaint still struggles to

meet the threshold of what is required to state a Title VI claim under federal law. While Plaintiffs

paint a picture of a stressful campus climate for Jewish students, many of the incidents pled fall

within the protection of the First Amendment. In other instances where College officials appear

vulnerable to criticism, their response to the situation cannot be deemed deliberate indifference.

And the Complaint as a whole fails to plead concrete educational impact. Plaintiffs succeed,

however, in stating a cognizable breach of contract claim, albeit one for nominal damages. I will

therefore grant Defendant’s Motion to Dismiss Plaintiffs’ Title VI claim and deny the Motion as

to the contract claim.
I.      Overview

        This action began with an original Complaint, followed by a First Amended Complaint,

both unwieldy in length. In January 2025, I dismissed Plaintiffs’ First Amended Complaint in its

entirety for failure to state a claim. Despite an admonition from the Court to proceed with clarity

and specificity as to who experienced what and when, Plaintiffs’ Second Amended Complaint is

riddled with much of the same ambiguity that tarnished their previous attempts. Haverford College

has again moved to dismiss for failure to state a claim. When it comes to pleading, there is a

critical difference between mere insinuations and plausible inferences that would support the claim

a plaintiff seeks to assert. Those continued deficits are fatal to Plaintiffs’ civil rights claim, but I

will permit the contract claim to proceed to discovery.

II.     Standard of Review

        Within the Third Circuit, motions to dismiss under Federal Rule of Civil Procedure

12(b)(6) are governed by the well-established standard set forth in Fowler v. UPMC Shadyside,

578 F.3d 203, 210 (3d Cir. 2009).

III.    Discussion

                Title VI Claim

        Plaintiffs allege that Haverford tolerates and perpetuates a hostile educational environment

in violation of Title VI of the 1964 Civil Rights Act. A plaintiff raising a hostile environment

claim must show that 1) the school was “deliberately indifferent” to known acts of harassment that

2) were “so severe, pervasive, and objectively offensive” 1 that they deprived the victim of access


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 In the Third Circuit, conduct need only be severe or pervasive, not necessarily both. See Castleberry v.
STI Grp., 863 F.3d 259, 264 (3d Cir. 2017); see also Yael Canaan v. Carnegie Mellon Univ., 760 F.Supp.3d
306, 326 (W.D. Pa. 2024).


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to an educational activity or benefit. 2 Davis v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 633

(1999). “In determining whether an educational environment is ‘hostile’, a court must examine

the totality of the circumstances, such as ‘the frequency of the discriminatory conduct; its severity;

whether it is physically threatening or humiliating, or a mere offensive utterance; and whether it

unreasonably interferes with a student’s performance.’” Katchur v. Thomas Jefferson Univ., 354

F.Supp.3d 655, 664 (E.D. Pa. 2019) (citing Ke v. Drexel Univ., No. 11-6708, 2015 WL 5316492,

at *32 (E.D. Pa. Sept. 4, 2015)).

       In their third bite at the apple, Plaintiffs have again elected to continue litigating their

claims en mass, perhaps hoping to prevail on the quantity of allegations rather than quality. On

top of the sheer breadth of their allegations, except for the admirable and steadfast Ally Landau,

Plaintiffs insist on continuing to litigate in anonymity. Plaintiffs aver that “Jews at Haverford” is

an unincorporated membership organization, consisting of over fifty Jewish students, as well as

faculty, alumni, and parents of students of Haverford, who are Jewish and share a commitment to

the survival of Israel as a Jewish homeland. Second Am. Compl. ¶ 9, ECF 35 (“SAC”). This

phantom quasi-class action strategy continues to make it impossible to connect the dots between

Plaintiffs’ alleged victims, perpetrators, and related responses.       Critically, Plaintiffs do not

articulate any concrete resultant harm stemming from their allegations, even where those

allegations raise serious concerns about the climate at Haverford.           Plaintiffs’ strategy also

distinguishes this case from other recent federal actions challenging antisemitism on college

campuses, where individuals or small groups of individual students brought claims that could



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 This assumes that the plaintiff has already made a showing that they are a member of a protected class
under Title VI and that they were qualified for the relevant educational opportunities.


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easily be traced from an incident to its resolution, or lack thereof. See, e.g., Gartenberg v. Cooper

Union for the Advancement of Sci. & Art, 765 F.Supp.3d 245 (S.D.N.Y. 2025) (ten individual

student plaintiffs); Felber v. Yudof, 851 F.Supp.2d 1182 (N.D. Cal. 2011) (two individual student

and alumni plaintiffs); Frankel v. Regents of Univ. of California, 744 F.Supp.3d 1015 (C.D. Cal.

2024) (three individual plaintiffs); Yael Canaan v. Carnegie Mellon Univ., 760 F.Supp.3d 306

(W.D. Pa. 2024) (one individual student plaintiff); Canel v. Art Inst. of Chi., No. 23-17064, 2025

WL 564504 (N.D. Ill. Feb. 20, 2025) (same).

       To establish a Title VI hostile environment claim, a plaintiff must show severe or pervasive

harassment, deliberate indifference to that harassment, and a resultant deprivation of educational

benefits. Here, Plaintiffs seek to do that by citing some 25-plus incidents purportedly impacting

the collective consciousness of 50-plus mostly unnamed individuals comprising Jews at

Haverford. But such gestalt pleading cannot be employed as a strategy to avoid scrutiny by the

Court, because discrete legal principles govern what is actionable under Title VI. I will therefore

proceed by identifying a series of core principles both animating and limiting Title VI claims, and

consider Plaintiffs’ allegations through this matrix.

       Plaintiffs’ hostile environment claim falls apart as it funnels through the matrix. First,

several of Plaintiffs’ allegations involve protected political expression, and cannot be regulated

under the guise of nondiscrimination. Turning to the elements of a Title VI claim, the facts as

pleaded do not suffice to establish deliberate indifference. Finally, even where speech is not

necessarily protected or where deliberate indifference could be a closer call, Plaintiffs do not allege

any concrete deprivation of educational benefits – either with regard to any of the individual

allegations they set forth, or when considering the totality of the circumstances. As such,

Plaintiffs’ Title VI claim must be dismissed.

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               Title VI Guiding Principles

               1.      Public, Political Speech is Protected by the First Amendment.

       Higher education institutions are prototypical marketplaces of ideas. College campuses

have served as historical sites of foment and the breeding grounds for progress. In periods of social

unrest, emblematic of the American story, “intellectual advancement has traditionally progressed

through discord and dissent, as a diversity of views ensures that ideas survive because they are

correct, not because they are popular.” Rodriguez v. Maricopa Cnty. Cmty. Coll. Dist., 605 F.3d

703, 708-09 (9th Cir. 2010).

       A court enforcing a federal statute must do so in a way that comports with the Constitution.

Although both important, Title VI and the First Amendment are naturally in tension.               “A

disparaging comment directed at an individual’s sex, race, or some other personal characteristic

has the potential to create a ‘hostile environment’ – and thus comes within the ambit of anti-

discrimination laws – precisely because of its sensitive subject matter and because of the odious

viewpoint it expresses.” Saxe v. State Coll. Area Sch. Dist., 240 F.3d 200, 206 (3d Cir. 2001). But

“speech on matters of ‘public concern’ – expression that ‘can be fairly considered as relating to

any matter of political, social, or other concern to the community’ – is entitled to ‘special

protection’ under the First Amendment’ and generally ‘cannot be restricted simply because it is

upsetting or arousing contempt.’” Gartenberg, 765 F.Supp.3d at 262 (quoting Snyder v. Phelps,

562 U.S. 443, 453 (2011)). However noble the objective of nondiscrimination, institutions cannot

be threatened with civil liability for declining to censor First Amendment protected speech. New

York Times Co. v. Sullivan, 376 U.S. 254, 282 (1965).

       Not all speech is protected by the First Amendment. But there are no allegations here that

constitute true threats, incitement, fighting words, obscenity, or any other category of unprotected

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speech. Gartenberg, 765 F.Supp.3d at 262. “Speech ‘on matters of public concern, directed to

the college community’ will generally fail to ‘constitute unlawful harassment.’” Id. at 265 (citing

Rodriguez, 605 F.3d at 710). A reasonable person should understand that such public speech,

“directed to the community at large through generally accepted methods of communication, is very

different than targeted, personal harassment, aimed at a particular person.” Id. Only one allegation

here involved speech targeted at a particular Plaintiff.

       It would be a dangerous overreach for federal courts to referee the controversies sparked

by campus speech. See Keyishian v. Bd. of Regents of the Univ. of the State of N.Y., 385 U.S. 589,

603 (1967) (the First Amendment “does not tolerate laws that cast a pall of orthodoxy over the

classroom.”); Eugene Volokh, Freedom of Speech and Workplace Harassment, 39 U.C.L.A. L.

Rev. 1791, 1817 (1992) (“The government cannot escape First Amendment scrutiny for its speech

restriction by forcing someone else, on pain of liability, to implement that restriction.”). That

responsibility instead belongs to college administrators, and perhaps more importantly, to students

– who harness the immense power to talk with one another and change minds, even when doing

so demands courage. But where Haverford declined to take action to suppress or regulate pure

speech on matters of obvious public concern directed at the campus community, civil liability

cannot be imposed, for a robust First Amendment remains the bedrock of a democratic society.

       Many of Plaintiffs’ allegations fall into the category of pure, protected speech. Although

Plaintiffs may have found much of this speech reprehensible, there is no legal cause of action for

upset feelings. The following incidents fall within this category.

                       i.      The “Weaponization of Covid” Lecture

       In March 2024, Haverford students advertised a lecture with the title “Mass Death on all

Fronts: Israel’s weaponization of Covid against Palestinians.” SAC ¶ 118. Plaintiffs allege that

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there were “many complaints” from students, alumni, parents, and Jewish community members,

who thought this lecture was a dog whistle to the age-old blood libel. 3 Id. ¶ 119. Haverford did

not cancel the event but encouraged the event organizers to change its name. Id. In response, the

event organizers changed its title to “COVID in the time of Genocide: Teach-in on how Israel uses

COVID as a tool for settler colonialism in Palestine,” which Plaintiffs contend “was even more

overtly antisemitic than the old one.” Id.

        Even if offensive and received by some as antisemitic, the lecture was pure speech

criticizing Israel directed at the general public – precisely the type of speech protected by the First

Amendment, and therefore legally inactionable.             See Gartenberg, 765 F.Supp.3d at 275

(concluding that a controversial talk hosted on campus about the “Uses and Misuses of Holocaust

Memory” constituted “pure speech on matters of public concern.”). No one was required to attend

the lecture, and those who found it offensive could have simply looked away. See Cohen v.

California, 403 U.S. 15, 21 (1971) (suggesting that those exposed to offensive speech can

“effectively avoid further bombardment of their sensibilities by simply averting their eyes.”).

                        ii.     Flags at the Spring Plenary

        The student Plenary plays a central role in social and academic life at Haverford College.

SAC ¶ 87. At this event, held twice per academic year, the student body gathers as a community

to discuss and vote to ratify various policies. Id. Plaintiffs allege that at the Spring 2024 Plenary,

one student handed out Palestinian flags to all entering students. Id. ¶ 114. Peaceful distribution

of political materials is a standard method of political expression directed at the public, whether it


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 The blood libel is an antisemitic trope dating back to the second century BCE that accuses Jewish people
of spreading disease and using the blood of Christian children to prepare their Passover matzah. See Blood
Libel, U.S. Holocaust Memorial Museum, https://perma.cc/MX8U-SNPE (accessed June 24, 2025).


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be leaflets, stickers, or in this case, flags. See United States v. Grace, 461 U.S. 171, 176-77 (1983)

(“There is no doubt that as a general matter peaceful picketing and leafletting are expressive

activities involving ‘speech’ protected by the First Amendment.”). There are no allegations that

this student only handed flags to students she thought might be Jewish. Nor is it alleged that any

student was forced to take a flag, because peer pressure, however strong, is not the same thing as

coercion. Whatever discomfort any Plaintiff (understandably) felt, what the Second Amended

Complaint describes is another instance of purely political expression protected by the First

Amendment. See Gartenberg, 765 F.Supp.3d at 270-71 (classifying student distribution of flyers

inviting members of the college community “to celebrate the anniversary of the first intifada” as

“pure speech on matters of public concern.”).

                         iii.    Student Organization Supports the Liberation of Palestine “By All
                                 Means Necessary”

          Plaintiffs also take issue with the name and mission of a student organization on campus.

What was originally “Bi-Co Students for Peace” 4 changed its name to “Bi-Co Students for the

Liberation of Palestine.” SAC ¶ 156. At the same time, the organization announced that it

supported “the liberation of Palestine through the complete dismantling of the apartheid settler

colonial state of Israel, by all means necessary.”        Id. (emphasis added).     From Plaintiffs’

perspective, the phrase “by all means necessary” is an implicit threat of violence and an

endorsement of Hamas’ October 7th terror tactics. Id. Although Plaintiffs may dislike the

organization’s new expressed mission, the organization’s messaging directed at the entire college

campus cannot, without more, be construed as a genuine threat targeting Jewish people.



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    “Bi-Co” refers to Bryn Mawr and Haverford Colleges.


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       By way of contrast, in Gartenberg, the plaintiffs’ claims based on graffiti reading “from

the river to the sea” survived a motion to dismiss in a Title VI action. 765 F.Supp.3d at 273.

There, the message was publicly displayed graffiti using an artistic style that employed lettering

seen throughout Nazi Germany, 5 evocative of the cover of “Mein Kampf.” Id. The Court

concluded that an act of public vandalism, invoking a phrase which many Jewish people

understand to be a call for their annihilation, in a manner that mimicked Nazi Germany could lead

a reasonable Jewish person to feel threatened. Id.

       Here, however, Plaintiffs are confronted with language in a document, albeit one available

online and distributed electronically, that can hold many interpretations. 6 Unlike in Gartenberg,

where the menacing style of the graffiti supported an inference of antisemitic intent, there is no

additional context to suggest that the language here was intended to target or instill fear. Absent

such secondary messaging, mere use of the phrase “by all means necessary” is protected by the

First Amendment.

                       iv.     Social Media Posts on Non-Haverford Accounts

       Plaintiffs raise several concerns about posts made on non-Haverford, private social media

accounts.   First, Plaintiffs allege that an anonymous member of Jews at Haverford was

disappointed by his peers’ personal Instagram stories in the wake of October 7th. SAC ¶ 46. This



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  The type-face Fraktur (also known as German Gothic) was associated with the Nazi regime and its
ideology.
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  The phrase “from the river to the sea” also holds different meanings to different people. See Laurie
Kellman, “From the river to the sea”: Why these 6 words spark fury and passion over the Israel-Hamas
war,” The Associated Press, (Nov. 10, 2023) https://perma.cc/3VQV-DMGL; see also Amos Goldberg and
Alon Confino, “From the River to the Sea: One Slogan, Many Meanings,” The Review of Democracy,
https://perma.cc/6T9X-HKJC (accessed June 18, 2025). But it could certainly be viewed as a threat as
presented in Gartenberg.


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Plaintiff conveyed his reaction to these external posts in the Haverford Political Science messaging

system. Id. In his reflection, the Plaintiff included a screenshot of a graphic that, he alleges, many

students posted immediately following the attacks, promoting Palestinian resistance and depicting

the silhouette of a paraglider, reminiscent of the October 7th attackers. Id.

       Plaintiffs also discuss assorted social media posts made by Haverford Professors Gina

Velasco, Guangtian Ha, and Tarik Aougab on their personal social media accounts. Id. ¶¶ 49, 51,

54-57. These posts all disparage those who continue to support Israel, but vary in tone, taste, and

conviction. Id. I begin with the observation the social media posts are leveled at the state of Israel,

not people of Jewish descent. Consistent with my earlier opinion here and in Tannous v. Cabrini,

I reject the proposition that criticism of Israel is invariably antisemitic. 697 F.Supp.3d 350, 367

n.10 (E.D. Pa. 2023). And although some of the posts could easily be conceived as offensive, none

of the posts can be construed as anything other than protected political speech. Beyond that,

Plaintiffs do not attempt to explain how Haverford could regulate students’ and faculty’s private

social media content, offering no basis on which it could assert such invasive authority.

       In a digital world, social media posting has become another form of speech. Each post

broadcasts a message to one’s followers and the public, just as one could do with a poster in a

public square. Here, the social media posts at issue all direct their generalized messages to their

followers at large, without focusing upon any particular Plaintiff. These posts are plainly protected

political speech about matters of public concern, albeit offensive to some. But offense does not

provide a lawful basis on which to stifle expression. Bachellar v. Maryland, 397 U.S. 564, 567

(1970); Matal v. Tam, 582 U.S. 218, 244 (2017).

       In a similar vein, Plaintiffs aver that Haverford elected to investigate Israeli-Jewish

Professor Barack Mendelsohn for his social media posts, but not the other three Professors, and

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that this differential treatment reflects discrimination. SAC ¶ 60. Such an inference does not

readily follow. What differentiates Professor Mendelsohn’s posts and the posts of Professors

Velasco, Ha, and Aougab is not only the content of the posts, but the magnitude of community

reaction to the posts. While Plaintiffs assert that unspecified individuals “complained” about the

Velasco, Ha, and Aougab posts, they also acknowledge that over 600 people signed a petition

raising concerns about Professor Mendelsohn’s online presence. Id. ¶¶ 67, 70, 191.

        My reasoning in Tannous v. Cabrini has relevance here. In that case, I found that a

Palestinian-American plaintiff professor failed to state a claim of national origin discrimination

where he was terminated for his anti-Israel tweets. Tannous, 697 F.Supp.3d at 360-61. That was

because the University’s intervention was prompted by disruptive public outcry, not his identity

and beliefs as a Palestinian-American. Id. I also noted that there were no facts on the record to

show that “the university would have reacted differently to a similarly situated non-Palestinian-

American employee.” Id.

        The same applies here. A 600-person signed petition provided Haverford a legitimate

reason for investigation, distinct from Mendelsohn’s Israeli and Jewish identity. There are no facts

pleaded in support of Plaintiffs’ contention that Mendelsohn was investigated because he was

Israeli and/or Jewish, or because the content of his posts generally supported Israel. 7 Had Plaintiffs

organized an equivalent petition criticizing the online behavior of Professors Velasco, Ha, or

Aougab, Haverford would be expected to act in a manner consistent with their treatment of




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  The investigation ultimately determined that Professor Mendelsohn did not “engage in discrimination or
harassment,” but was guilty of behavior “inconsistent with the College’s expectations of its faculty.” SAC
¶ 69. Professor Mendelsohn remains employed by the College. Id. ¶ 60.


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Professor Mendelsohn. 8 But vague allegations of some unspecified number of complaints will not

suffice for purposes of meaningful comparison when arrayed against a petition signed by 600

people.

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          Certainly some speech can be proscribed, but such speech is not present in this case. The

Third Circuit has cautioned that “when laws against harassment attempt to regulate oral or written

expression . . . however detestable the views may be, we cannot turn a blind eye to the First

Amendment implications.” Saxe, 240 F.3d at 206. And as Judge Cronan cogently observed in

Gartenberg, “[r]egardless of whether this expression is better characterized as righteous protest in

support of a noble cause, as the vulgar celebration of terrorism and antisemitism, or as something

in-between, it is not a proper basis on which to impose civil liability.” 765 F.Supp.3d 271. The

allegations above are not legally actionable under Title VI.

                 2.      Deliberate Indifference is an Exceedingly High Standard Not Met by the
                         Allegations Here.

          To establish liability for a hostile educational environment, the Third Circuit and many

federal courts alike require plaintiffs to show that administrators were deliberately indifferent to

alleged harassment. The test for deliberate indifference is “whether a reasonable fact-finder could

conclude that the College’s response was ‘clearly unreasonable in light of the known

circumstances.’ In other words, whether, on [the] record, one could find that the College made ‘an

official decision not to remedy the violation.’” Oden v. Northern Marianas Coll., 440 F.3d 1085,



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 This section only considers the Title VI claim at issue and is not meant to suggest that a university can in
every instance point to audience displeasure as the sole basis on which to restrict pure speech in the First
Amendment context.


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1089 (9th Cir. 2006) (citing Davis, 526 U.S. at 641 and Gebser v. Lago Vista Indep. Sch. Dist.,

524 U.S. 274, 290 (1998)) (cleaned up). To reach this conclusion, plaintiffs must also show that

administrators with authority to act were put on actual notice of the alleged harassment. Blunt v.

Lower Merion Sch. Dist., 767 F.3d 247, 273 (3d Cir. 2014) (citing Davis, 526 U.S. at 645-49).

Victims of harassment have no “right to make particular remedial demands.” Davis, 526 U.S. at

648.

       The First Amendment again counsels in favor of limited judicial intervention when it

comes to expressive activity on college campuses, demanding “‘substantial deference to a

college’s decision not to take action against’ students who engage in expressive activity on matters

of public concern and requir[ing] courts to ‘defer to colleges’ decisions to err on the side of

academic freedom.” Gartenberg, 765 F.Supp.3d at 267 (citing Rodriguez, 605 F.3d at 708-09).

Institutions are not expected to be perfect or clairvoyant. See StandWithUs Ctr. for Legal. Just. v.

Mass. Inst. of Tech., 742 F.Supp.3d 133, 143 (D. Mass. 2024). Along these lines, government

coercion of speech to adhere to a particular message tampers with First Amendment protections.

W. Va. State Bd. Of Educ. v. Barnette, 319 U.S. 624, 642 (1943) (explaining that government

compulsion of speech “transcends constitutional limitations” on governmental power “and invades

the sphere of intellect and spirit which it is the purpose of the First Amendment to our Constitution

to reserve from all official control.”). Courts therefore may not compel administrators to make

any specific statement on any particular topic.

       The operative question is whether Haverford administrators acted, or failed to act, in a way

that was “clearly unreasonable in light of known circumstances,” and whether these known

circumstances necessarily implicate First Amendment protections. Davis, 526 U.S. at 648. I

conclude that for a vast majority of Plaintiffs’ allegations, Haverford acted with sufficient reason

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and thought to dispel a finding of threshold deliberate indifference. These allegations are as

follows. 9

                         i.       Haverford’s Post-October 7th Statements

        Plaintiffs assert that Haverford’s failure to issue an appropriate statement in the immediate

aftermath of the October 7th attacks caused “hurt and dismay.” SAC ¶¶ 43-44. They further

contend that when Haverford did issue a responsive statement just two days later, it did not

denounce the Hamas attacks as terrorism. Id. ¶ 44. But the statement identified the attack as one

of “several tragedies across the globe,” and however inadequate that may be in the eyes of

Plaintiffs, matters of nuance and emphasis in the wording of a statement cannot serve to show

deliberate indifference.

        Plaintiffs also discuss several comments made by Haverford administrators that they found

to be in poor taste. For example, Vice President Nikki Young purportedly spoke at a vigil for the

Haverford student tragically shot while in Vermont for Thanksgiving, where she linked the

shooting to the “genocide” Israel was committing against Palestinians. Id. ¶ 34. Plaintiffs describe

this message as “divisive, misleading, and antisemitic,” and express that they cannot trust Vice

President Young “to take seriously their concerns about antisemitic harassment and

discrimination.” Id. At a meeting with Jewish community leaders to discuss the campus climate,

Vice President Young also reportedly said that “Jewish students needed to condemn ‘genocide’

rather than report[] antisemitism.” Id. ¶ 36. At a similar meeting with Jewish community leaders,

Plaintiffs also aver that Dean McKnight posited that attacks against Jews who are committed to


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  While some of Plaintiffs’ allegations are a closer call on the question of deliberate indifference, Plaintiffs
still fail to state a Title VI claim because they do not articulate any concrete deprivation of educational
benefits. These allegations are discussed below.


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Israel are categorically different from attacks against other minorities. Id. ¶ 58. Plaintiffs finally

contend that at a Chabad-hosted event, President Raymond stated that on October 7th, she saw

“peaceful people” breaking free from their chains. Id. ¶ 50.

        As a preliminary matter, none of these statements embrace Hamas.                  Plaintiffs can

reasonably characterize them as focusing on the suffering of Palestinians without showing similar

concern for the losses inflicted by Hamas or for the surge of antisemitic incidents making

headlines. As a matter of campus leadership, there may be ample basis for criticism if such

statements were made, but the statements remain pure speech about matters of public concern. A

court cannot compel administrators’ speech, nor insist that administrators should have conveyed a

different message. See Barnette, 319 U.S. at 642. The choice of message in the face of public

controversy remains the province of college administrators, and unless clearly lacking in reason or

overtly hostile cannot be deemed deliberate indifference. 10

                        ii.     The Nova Movie Screening

        In Spring 2024, at the behest of Jewish leadership and faculty members, Haverford played

a movie for the campus community about the Nova Festival that was the site of the October 7th

Hamas attacks. In reaction to this event, Haverford protestors demanded “an apology from

President Raymond for her having the temerity to invite ‘Zionists’ to campus.” SAC ¶ 129. But

President Raymond never issued an apology. Id. ¶ 130. Remarkably, rather than credit Raymond

for rejecting the protestors’ demand, Plaintiffs instead argue that President Raymond showed

deliberate indifference by not taking the opportunity to chastise the protestors. Id. ¶ 131.


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   Though insufficient for Title VI purposes, these statements certainly lend plausibility and force to
Plaintiffs’ contract claim which is grounded in a purported failure to investigate claims of antisemitism.
This is particularly so if Jewish students were in fact discouraged from complaining.


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       Title VI is not a portal for students to litigate their general dissatisfaction with the conduct

of administrators or to advance their view of how contentious issues should be handled on campus.

It sets an exacting standard for what constitutes a sufficiently hostile environment to justify

imposition of civil liability. There is no basis whatsoever, either under Title VI, nor within the

confines of the First Amendment, for a court to hold a college administrator liable for failing to

convey a specific message that students would have liked to see. Barnette, 319 U.S. at 642

(compelled speech runs afoul of the First Amendment).

                       iii.    The Fall Plenary

       Plaintiffs allege that at the Fall 2023 Plenary, held just weeks after Hamas’ October 7th

attack, the entire session was devoted to presentations made by Students for Justice in Palestine

(“SJP”), a student organization committed to Palestinian resistance. SAC ¶¶ 89-90. Plaintiffs

contend that student council members in charge conspired with SJP, enabling SJP members to fill

all available speaking spots in advance and violating plenary rules. Id. ¶¶ 90-92. Plaintiffs were

upset by the one-sided nature of the event, and those who tried to speak were told that the speaking

spots were full. Id. ¶ 94. Other Plaintiffs “furiously texted each other wondering what they could

do to stop the onslaught, but most simply expressed agony.” Id. ¶ 93.

       Plaintiffs do not allege that Haverford barred their participation. Nor do the facts alleged

suggest that the administration acted with deliberate indifference. Plaintiffs plead that they asked

Dean McKnight to intervene, and that he obliged, texting the Student Council leadership to suggest

that they give the Jewish students a chance to contribute. Id. ¶ 94. The Student Council leadership

ultimately ignored this request in the heat of the moment, but Plaintiffs can hardly say that Dean

McKnight unreasonably failed to act. Id.



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       Following Plenary, Dean McKnight then allowed Plaintiff Ally Landau to author and

distribute a message on the all-college email server responding to the discussion at Plenary. Id. ¶

97. What Plaintiffs plead is in fact the opposite of deliberate indifference: in response to the stated

concerns of Jewish students, Dean McKnight provided Ms. Landau with a campus-wide platform

through which to voice concerns on behalf of her community.

                       iv.     The Grievances Document

       Amidst the unrest of the Fall 2023 semester, a group of students circulated a “Haverford

Grievances Document,” which asked the College to better support members of Haverford’s

Palestinian and Arab communities. Id. ¶ 99; ECF 35-4. The document made the outlandish claim

that Ms. Landau’s post-Plenary campus-wide email was a contributing factor to the tragic shooting

of a Palestinian Haverford student while he was in Vermont for Thanksgiving Break. SAC ¶ 100.

The attack on Ms. Landau was outrageous, but once again the administration did not act

unreasonably. Once the document was brought to President Raymond’s attention, she met with

Landau’s parents and required that Landau’s name be removed, thus remedying the situation and

attempting to prevent additional harm. Id. ¶ 102. This cannot be deemed deliberate indifference.

                       v.      Jewish Student Withdraws Haverford Matriculation

       Next, Plaintiffs contend that when an incoming first-year student said that he was Jewish

and had attended a Jewish day school in a group chat for incoming Haverford students, other

incoming students berated him for being a Zionist. Id. ¶ 138. The prospective student brought

this to the attention of Dean McKnight, explaining that he wanted to change his plans and attend

a different college. Id. ¶ 139. Although Plaintiffs state that “no further action was taken by

Haverford after it learned of this student’s decision,” the pleadings show otherwise. Id. ¶ 140.



                                                  17
Dean McKnight personally called the prospective student upon receiving his message and

encouraged him to report this conduct to the Honor Council. Id. ¶ 139. But the prospective student

ultimately declined the Dean’s suggestion, stating that he did not wish to raise his concerns with a

committee that shares the same beliefs as those who antagonized him in the group chat. Id.

       The facts as pleaded reflect that a Haverford administrator listened and responded to the

prospective student’s concerns and encouraged him to seek recourse through an established

mechanism. Plaintiffs would have preferred a different response, but once again that does not

support deliberate indifference.

                       vi.     Founders Hall Sit-In

       Plaintiffs raise two campus protest events in their Second Amended Complaint. The first

occurred in December 2023, when Haverford students, like students on many other college

campuses, hosted a sit-in to protest the war in Gaza. Id. ¶ 123. The sit-in took place at Founders

Hall, the main administrative office at Haverford. Id. Plaintiffs do not contend that the building

hosts any classrooms, nor that any Plaintiffs were unable to get to their classes, nor that any classes

were disrupted. Cf. Frankel, 744 F.Supp.3d 1015, 1024 (granting a preliminary injunction where

final exams were disrupted and students were evacuated from the building). For its one-week

duration, students “hung banners outside the building, and daily conducted chants” that Plaintiffs

purport intimidated Jewish students committed to Israel. SAC ¶ 123-24.

       Plaintiffs also aver that when “a student passed by the sit-in who was identified as

supporting Israel’s existence, the chants were directed specifically at the student.” Id. ¶ 124. But

Plaintiffs do not aver that the protestors singled out students whom they assumed to be Jewish.

Rather they targeted any student who did not support their mission. This contrasts with other cases

where Jewish students were targeted for being Jewish. See Gartenberg, 765 F.Supp.3d at 255-56

                                                  18
(where protestors shoved past security and berated Jewish students locked in a library room for

over 20 minutes, while the college president ordered the police to “stand down” as she cowered in

her office and escaped through a back exit); Kestenbaum v. President & Fellows of Harvard Coll.,

743 F.Supp.3d 297, 304 (D. Mass. 2024) (where protestors blockaded Jewish students in a study

room).

         Although Plaintiffs report that they felt “dread” when walking by the sit-in, often choosing

to take a lengthy detour to avoid the center of campus where the sit-in transpired, Plaintiffs do not

aver that these detours exacted any educational penalties, such as being late to or missing class.

SAC ¶¶ 124, 126. Some Plaintiffs purportedly chose to forego the announcement of majors

ceremony that occurred on Founders Green, adjacent to the protest, though it is not alleged that

Jewish students who attended the ceremony incurred any harm. Id. ¶ 123. Moreover, Plaintiffs

do not assert any instance where the sit-in grew violent, isolated or targeted individual Jewish

students, or amounted to anything more than a prolonged protest. Exposure to a protest, without

more, does not amount to harassment. See Cohen, 403 U.S. at 22. Indeed, one goal of public

protests is to stir strong feelings on the part of passersby seeking to convert them to the protestors’

point of view.

         When asked about the sit-in, President Raymond praised the “peaceful” nature of the

protest, and though she admitted that the protest violated several campus rules, stated that she

feared “worse behavior by the students would result” if she took action to stop it. SAC ¶¶ 127-28.

Where a college administrator must strike a balance between allowing students broad flexibility to

express themselves and avoiding mass disruption of campus activities as a whole, courts must

hesitate to second guess such judgments. “To fault [the institution] for what proved to be a failure

of clairvoyance and perhaps too measured a response to an outburst of ugliness on its campus

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would send the unhelpful message that anything less than a faultless response in similar

circumstances would earn no positive recognition in the eyes of the law.” StandWithUs Ctr. for

Legal Just., 742 F.Supp.3d at 143.

       The same applies here: President Raymond had no obligation to be faultless, she just

needed to be reasonable. Viewing the circumstances before her, President Raymond decided to

let the protest run its course. Plaintiffs do not allege any material harm that stemmed from this

choice. As such, the sit-in is not independently actionable because Haverford did not act with

deliberate indifference.

                       vii.   The Spring 2024 Encampment and “Liberated Zone”

       In Spring 2024, students set up their second encampment on the main college green, barring

access to Founders Hall. SAC ¶ 132-133. The encampment consisted of tents, banners, and the

declaration of a “Liberated Zone,” where only those committed to the protests’ objectives were

“permitted” to enter. Id. Plaintiffs do not indicate how those who supported the protest and those

who did not were differentiated, making it unclear why students could not pass through, even if

uncomfortably. Cf. Frankel, 744 F.Supp.3d at 1021 (only students who voiced support for the

protest were issued a wristband and permitted to cross the encampment); Felber, 851 F.Supp.2d

at 1184 (event organizers set up “check points” where students dressed as soldiers carrying

realistic-looking simulated assault weapons demanded passing students to state whether or not

they were Jewish).

       As with their sit-in allegations, Plaintiffs aver that “any person who walked by the

Encampment and did not express support for this goal was shouted at and insulted while they were

concluding their academic semester and preparing for final exams.” SAC ¶ 133 (emphasis added).

Plaintiffs do not indicate that Jewish students were singled out or targeted for appearing to be

                                               20
Jewish. Beyond making studying more difficult in some amorphous way, Plaintiffs do not aver

that these protests had any material impact on their education. Cf. Frankel, 744 F.Supp.3d at 1022

(“some students missed finals because they were blocked from entering classrooms, and others

were evacuated in the middle of finals.”) (cleaned up).

          The encampment lasted three days, a relatively short period compared to similar

encampment activity on other college campuses. See, e.g. StandWithUs Ctr. For Legal Just., 742

F.Supp.3d at 139 (encampment lasted over a week); Frankel, 744 F.Supp.3d at 1022 (encampment

lasted one week). There are no allegations that the encampment escalated from chants and posters

to physical aggression, nor are there allegations that Plaintiffs made any reports of serious resultant

harm, beyond frustration with the protest itself and dissatisfaction with the College’s response.

          College administrators need not be perfect. They need not even be good. They just need

to behave in a way that is not clearly unreasonable in light of the circumstances known at the time.

Here, amidst a period of extreme unrest on college campuses across the country, it was not clearly

unreasonable for administrators to allow protestors to freely express themselves for three days. It

is also a defensible conclusion that intervention could have triggered an even larger and more

disruptive backlash. Plaintiffs’ dissatisfaction does not state a claim for violation of their civil

rights.

                         viii.   Protests at “Anti-Semitism 101”

          Plaintiffs also describe a protest that transpired at an event hosted on campus by the Anti-

Defamation League (“ADL”) entitled “Anti-Semitism 101.” SAC ¶ 79. Dean McKnight, Vice

President Young, and President Raymond were present. Id. ¶ 81. Plaintiffs aver that prior to the

event, which took place in a room with windows, Haverford student-protestors zip-tied the blinds

so the windows couldn’t be closed. Id. ¶ 80. These zip-ties were discovered and removed before

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the event began, but reasonably reflected an intent of the protestors to surround and intimidate

those inside the room. Id. As the event occurred, protestors “mobbed the space outside the

windows throughout the event, banging on cowbells and pots with spoons and shouting, with the

use of a bull horn.” Id. Inside the room, three separate students interrupted the talk, each ripping

off their sweatshirt to reveal a matching protest t-shirt, and denouncing Israel and the ADL. Id. ¶

81.   When the fourth interrupting student stood to make their statement, Dean McKnight

intervened, asking the room whether anyone else planned to interrupt, and requesting that those

people come forward to participate in the last interruption. Id.

       Haverford again did not act unreasonably. By way of initial observation, Haverford’s

leadership was present, which can only be viewed as a recognition of the importance of the event

and support for Jewish students. The zip-ties were found and removed prior to the event, allowing

some of the external protest chaos to be shut out. And in response to four serial interruptions,

Dean McKnight intervened, seeking to get the rest of the interruptions over with so that the talk

could proceed smoothly. Id. Dean McKnight’s intervention demonstrates a reasonable effort to

quell the unrest and allow the event to proceed, undermining Plaintiffs’ allegation of deliberate

indifference.

                       ix.    Cancellation of the Antisemitism Awareness Basketball Game

        Plaintiffs allege that it is commonplace at Haverford for sporting events to be dedicated to

a cause. Id. ¶ 158. In November 2023, Plaintiff Ally Landau, a member of the Women’s

Basketball team, got permission from Vice President Young to dedicate a home intercollegiate

basketball game to “Antisemitism Awareness.” Id. This would have involved setting up a table

outside the stadium where spectators could pick up literature about antisemitism and “blue square”

buttons, which symbolize “eradicating antisemitism.” Id. But less than a week before the game

                                                22
was scheduled to take place, Landau was called into a meeting with Dean McKnight and Athletic

Director Danielle Lynch.      Id. ¶ 159.    The administrators expressed their concern that the

antisemitism component might draw serious protests to the game. Id. If those protests interfered

with the players’ ability to continue the game, the team would be required to forfeit per NCAA

rules. Id.

        Plaintiffs do not allege that Haverford prohibited the event or was unwilling to schedule it

at a different time. But in Plaintiffs’ formulation, administrators pressured Landau into cancelling

the antisemitism component of the game. Id. ¶ 161. It is true that there is an inherent power

imbalance between a college Dean and Athletic Director, and a young female student, even though

all the pleadings in this case show Ms. Landau to be someone with admirable courage, a laudable

advocate for herself and her community. And Plaintiffs further allege that she relented and agreed

to postpone.

       Regardless, this overture by Haverford administrators is not clearly unreasonable. Whether

their judgment was correct or not, the facts suggest that their instincts were to be protective of Ms.

Landau. Context here is important. When the event was proposed in November, it was far closer

in time to the atrocities perpetrated by Hamas. The game itself was not until February 6, 2024.

Id. ¶ 158. By that time, Israel’s counter-offensive was fully underway, and Hamas’ cynical

strategy of embedding itself among the populace was beginning to exact an immense toll of

innocent civilian casualties, stoking public outcry that was only growing. The potential for

disruption was great. Had Ms. Landau been the sponsor of an event that ultimately forced her own

team to withdraw from the competition, detrimentally impacting their standing, Landau could have

faced severe ostracization and ridicule from her team and community alike, beyond the pressure

she was already subject to as a vocal advocate on campus.

                                                 23
       It also appears that the administrators had legitimate security concerns, given that

basketball games have spectators in attendance on all four sides immediately adjacent to the court.

At argument, Plaintiffs’ counsel cited this security concern as proof that Jewish students were

unsafe on campus. But the concern cited by administrators had to do with interference with the

game, not physical attacks on Jewish students, and nowhere in this record are there allegations of

any student being assaulted or even individually targeted, except for the ill-conceived reference to

Ms. Landau in the campus Grievance Document.

       Given heated sentiment on campus and beyond, it was not clearly unreasonable for

administrators to encourage postponing the event.

                                                     ***

       Taking the facts pleaded as true, Haverford failed to amplify all student voices evenly, took

too soft an approach to campus regulation, and failed to communicate as boldly and effectively as

Plaintiffs would have liked. The question is not, however, whether Haverford could have handled

each situation better. Under Title VI, the question is whether Haverford was so indifferent to

known acts of harassment that it caused students to undergo harassment or made them more

vulnerable to it, and thereby undermined the students’ education. Davis, 526 U.S. at 644-45. And

even taking all these allegations as a whole, Plaintiffs’ pleading does not plausibly support a

finding of deliberate indifference, especially where countervailing First Amendment concerns are

considered in evaluating the often-fragile balance college administrators must strike.

               3.      Failure to Address Alleged Harassment Must Deprive Some Articulable
                       Educational Benefit; Generalized Discomfort is Insufficient.

       Harassment varies in degree. Much expression runs the risk of upsetting someone, and

some ultimately does.     For purposes of Title VI liability, college administrators must be


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deliberately indifferent to speech or conduct that creates an environment so hostile that it results

in denial of an educational benefit. An actual deprivation of educational experiences is what

differentiates expression that evokes strong emotion from expression that amounts to an

infringement on civil rights. Title VI does not apply where the primary injury is to one’s feelings.

Without such requirements, Title VI risks becoming a general civility code, antithetical to robust

free speech protections on college campuses.

       To satisfy this element, a plaintiff must plead with specificity that the conduct at issue had

some “concrete, negative effect” on their education. Davis, 526 U.S. at 654. While this element

requires a serious showing, that showing can take many forms. For example, courts have found

that concrete deprivations existed where plaintiffs alleged that they were forced to change their

study habits or change schools, where they had a measurable drop in grades or increase in

absenteeism, or where they developed anxiety sufficient to require intervention. Mandel v. Bd. of

Trustees of Cal. State Univ., No. 17-03511, 2018 WL 5458739, at *25 (N.D. Cal. Oct. 29, 2018)

(citing Fennell v. Marion Indep. Sch. Dist., 804 F.3d 398, 410 (5th Cir. 2015) and Gabrielle M. v.

Park Forest-Chi. Heights, IL. Sch. Dist., 315 F.3d 817, 823 (7th Cir. 2003)). In Gartenberg,

plaintiffs sufficiently plead that they were “deprived of a supportive, scholastic environment free

of discrimination and harassment” where they alleged that they suffered emotional distress,

“including intense anxiety and panic attacks,” “engaged therapists, missed and/or dropped

assignments,” avoided the campus library, and where at least one student delayed completion of

their degree. 765 F.Supp.3d at 278; see also Canaan, 760 F.Supp.3d at 331 (plaintiff averred that

she missed numerous lectures and many hours of a required studio course, was denied one-on-one

meetings with a mentor professor, and avoided community events affiliated with her major);

Frankel, 744 F.Supp.3d at 1022 (plaintiffs provided sworn declarations that they missed final

                                                25
exams because they were blocked from entering classrooms, and others were evacuated during

final exams due to campus encampments).

        Self-censorship does not amount to a concrete deprivation.                 The “fact that some

unidentified students self-censored and did not attend Jewish events or identify as Jewish because

of their fear of hostility is not only fatally vague but also questionable as to the impact on their

education.” Mandel, 2018 WL 5458739, at *26 (cleaned up).

        Plaintiffs’ Second Amended Complaint is likewise fatally vague on the question of

educational impact. Even where Plaintiffs’ allegations could perhaps be liberally construed to

demonstrate deliberate indifference, they do not, in a total of 139 pages of pleading, articulate any

concrete deprivation of educational benefit. This flaw permeates the entire Second Amended

Complaint, both with regard to specific incidents, and when reviewing the totality of the

circumstances.

                        i.       Professor Mendelsohn’s Teach-In

        Plaintiffs allege that just days after the October 7th attacks, Barack Mendelsohn, an Israeli-

Jewish Professor, sought to host a teach-in on security and terrorism in the Middle East, his

professional specialty. SAC ¶ 62. In response to a student complaint that it was too soon to host

an event on this topic, Dean McKnight relayed the student’s concern to Professor Mendelsohn and

suggested that the event would benefit from more diversity. Ex. 3, Mot. to Dismiss, ECF 37-5.11


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  The Court may consider material beyond the allegations in the Complaint without converting the motion
to dismiss to one for summary judgment where it is a “document integral to or explicitly relied upon in the
complaint,” of which the plaintiff has notice. In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410,
1426 (3d Cir. 1997). Plaintiffs rely upon Dean McKnight’s written email exchange to state that he
suggested that Professor Mendelsohn add more diversity to his event. I thus look to the full email exchange,
which reveals that Dean McKnight’s suggestion was in direct response to a student complaint, which was
included on the email thread to Professor Mendelsohn.


                                                    26
Professor Mendelsohn disagreed, and the event ultimately occurred as planned, without additional

speakers. SAC ¶ 62. Plaintiffs represent that at a later teach-in hosted by Professor Gina Velasco,

she was not encouraged to add diversity, evincing disparate treatment. Id. ¶ 63. Even if this were

true, the facts do not show that Plaintiffs were in any way harmed, let alone deprived an educational

benefit, by Dean McKnight’s private suggestion to Professor Mendelsohn, who is not a Plaintiff

to this action, to add a speaker to his talk. Haverford hosted Mendelsohn’s talk just as he planned

it, and Haverford students presumably attended. Id. ¶ 62. This hardly represents a concrete

deprivation of educational benefits.

                       ii.     Customs Programming

       Plaintiffs aver that at the request of Jewish students, Haverford administrators allowed a

group of Pro-Israel Jewish students to make a presentation to the students tasked with organizing

first-year orientation about material that the Jewish students wanted to be included in orientation

programming. Id. ¶ 143. The Jewish students explained how they “felt about Israel and Zionism,

about Israel’s war against Hamas, and about the atmosphere at Haverford for people who hold

such commitments.” SAC ¶ 145. Upon the conclusion of the Jewish students’ presentation, the

orientation organizers allegedly expressed “anger and disgust,” and demanded an apology from

Haverford for subjecting them to the presentation. Id. ¶¶ 146-47. Haverford inexplicably

apologized. Id. ¶ 148. According to Plaintiffs, the resulting presentation that the orientation

leaders ultimately showed to the incoming students was “entirely hostile to Plaintiffs’ beliefs and

commitments.” 12 Id. ¶ 149. Assuming this is true, Plaintiffs do not specify what components of



 It remains unclear from Plaintiffs’ Second Amended Complaint who watched the final presentation and
12

what its contents were.


                                                 27
the presentation they deemed problematic, nor do they allege that any student felt too intimidated

or antagonized to attend class as normal or pursue the full range of Haverford’s educational

offerings. This falls well short of demonstrating any tangible deprivation of educational benefits.

                       iii.   The Emergency Plenary

       Plaintiffs assert that between February 29 and March 3, 2024, the student body hosted an

“emergency” Plenary, devoted “entirely to efforts to adopt a resolution condemning Israel for

fighting against Hamas, and demanding that Israel agree to a ceasefire immediately.” Id. ¶ 106.

Plaintiffs purport that this plenary blatantly violated several Haverford rules governing plenaries,

such as the need for a required quorum, and the requirement that voting occur in person. Id. ¶ 107.

Plaintiffs concede, however, that “the resolution did not pass as quorum was not reached, in part

because Jewish students refused to participate.” Id. ¶ 110. Thus, even if Plenary rules were

violated, Plaintiffs cannot show any way in which the emergency Plenary impacted their

educational experiences, especially where the resolution at issue did not pass. If anything, this

episode instead highlights an instance where Plaintiffs effectively organized to curb a resolution

they found undesirable, not an educational deprivation.

                       iv.    Posters advertising Jewish events are repeatedly torn down
                              without serious investigation.

       Plaintiffs aver that throughout the academic year, they and other Jewish students put up

posters on Haverford’s campus advertising Jewish events. Id. ¶ 152. They do not allege that these

events had anything to do with Israel, beyond being hosted by Jewish people about Jewish topics.

When Plaintiffs tried to advertise for an event entitled “How Do You Jew,” posters were repeatedly

torn down. Id. ¶ 153. Plaintiffs explain that “when they were replaced, they were pulled down

again,” and that this “occurred repeatedly, at multiple locations throughout campus, including at


                                                28
least one dormitory and public building.” Id. Plaintiffs maintain that some of the posters were

hung indoors and that the posters were found crumpled up on the floor. Id. ¶ 154. Plaintiffs aver

that the matter “was brought to the attention of President Raymond and other senior

administrators,” who allegedly investigated the destruction of the posters but concluded that they

were “blown down by the wind.” Id. Administrators announced that “if someone had torn down

a poster advertising a Jewish event, the act would be considered antisemitic and constitute a

violation of the Honor Code.” Id.

       But Plaintiffs assert that the administration took no steps to stop the destruction from

recurring, and question whether Haverford actually investigated the incident, considering that

posters allegedly “blown down by the wind” were hung in building interiors and found crumpled

up on the ground. Id. I agree that Haverford’s purported conclusion is suspect considering

Plaintiffs’ allegations about the placement of posters and where remnants were found. And it is

difficult to dispute that if students tore down only posters advertising Jewish events, that would be

an act of antisemitism.

       Absent, however, are any allegations that this incident resulted in deprivation of

educational benefits. Surely Plaintiffs were disappointed and even angry at Haverford’s inaction.

But there are no allegations that this incident affected Plaintiffs in a way that manifested in any

concrete harm, such as a decline in academic performance for any one student or retention of

mental health services. For Title VI purposes, these allegations fall short. But as discussed below,

they have additional relevance with respect to Plaintiffs’ breach of contract claim.




                                                 29
                        v.      Professor Aougab represents that he will not write letters of
                                recommendation.

        Plaintiffs also take issue with Professor Aougab’s publicly posted teaching guidelines.

Professor Aougab teaches an introductory, required mathematics class. Id. ¶ 49, n.8. On his

personal teaching page, directly linked to his Haverford teaching page, Aougab details the

procedure for requesting a letter of recommendation. Professor Aougab explains that “as a matter

of moral principle,” he will not write letters of recommendation for programs or jobs involving

any of the following: policing, military applications (such as internships at the Department of

Defense), private weapons manufacturing, intelligence gathering, or “opportunities that violate the

USACBI cultural and academic boycott of Israel.” 13 Id. ¶ 57. The USACBI boycott page14

explains that this boycott is an academic and cultural boycott of functionally anything with ties to

Israel. Professor Aougab welcomes discussion with students who disagree with his beliefs, but

notes that “this policy is non-negotiable.” Several members of Jews at Haverford, including the

parent of a current math major, complained to administrators about Aougab’s representations, but

administrators purportedly took no action. Id. ¶ 49.

        I begin with the observation that the professor does not refuse to write letters on behalf of

Jewish students, limiting his refusal to positions associated with the state of Israel. Beyond that,

the record is devoid of facts to show that any Plaintiff was deprived of educational benefits.




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   Professor Aougab’s website can be accessed here: https://perma.cc/8EXU-Z3FN. Plaintiffs cite
Haverford’s website in their Second Amended Complaint, and it links to his personal website. I deem the
content of both properly considered, and on his personal website Professor Aougab describes his lineage as
half-Jewish.
14
    The USACBI boycott webpage linked on Professor Aougab’s website can be found here:
https://perma.cc/2MRD-L7JC.


                                                   30
Plaintiffs do not aver that any Jewish student sought and was denied a letter of recommendation

for an institution unrelated to Israel. If this had occurred and Plaintiffs pleaded it with specificity,

Professor Aougab’s policy could surely animate allegations of direct antisemitic discrimination.

But no such allegations are made. Plaintiffs do not even plead that any student wanted a letter

from the Professor but felt that asking was pointless. Whatever the merits of professorial boycotts,

no facts are pled demonstrating that any Plaintiff faced a concrete negative educational impact.

                        vi.     Student Tour Guide Applications Rejected

        Finally, Plaintiffs aver that in Fall 2023, students and members of the College admissions

team, including a member of Jews at Haverford, met to review student applications for tour guide

positions. Id. ¶ 40. Students on the committee purportedly rejected several applications because

the applicants “are Zionists.” Id. Two Haverford College administrators were allegedly present

but said nothing to challenge these decisions. Id.

        One can conceive of a version of these facts that could serve as the basis for an actionable

direct discrimination claim. But Plaintiffs’ vague pleading leaves too many unresolved questions.

As a threshold matter, we do not know whether the denied applicants were members of Jews at

Haverford. And the observing member of Jews at Haverford does not indicate that they suffered

any adverse consequence as a result of watching the denials transpire.

        It is also impossible to discern from the facts as pled the basis on which applicants were

actually denied. Were the applications denied because they had Jewish-sounding last names, and

the student reviewers used “Zionist” as an epithet to discard those applicants based on an invidious

inference alone? Did the applicants attend Jewish day schools, leading to a similar sort of

inference? Or were the rejected applicants deemed Zionists for expressing views asserting a divine



                                                  31
right of West Bank settlers to displace Palestinians? It is not even clear that the rejected “Zionists”

were Jewish. Plaintiffs do not say, and these nuances matter.

       Given that a member of Jews at Haverford is alleged to have been in the room where these

decisions were made, Plaintiffs likely could have provided a more complete picture of the incident.

But aside from the weakness of any inference that can be drawn, no connection is made to any

denial of educational benefit as to the one observing Plaintiff, and let alone with regard to all 50-

plus members of Jews at Haverford.

                                                 ***

       Viewing the Second Amended Complaint as a whole, Plaintiffs’ allegations on the concrete

deprivation of educational benefit element are vague and conclusory, critically lacking in tangible

impact as demonstrated by, for example, a drop in grades, increase in absenteeism, or retention of

a therapist for serious anxiety. Plaintiffs instead broadly state that members of Jews at Haverford

feared personal shunning, and felt “anxiety, and self-suppression.” Id. ¶¶ 168-70. They state that

Plaintiff Landau was forced to “change her routine,” and was “harassed” and “shunned.” Id. ¶

171. Plaintiff HJSB also purportedly changed her routines, lost friends, felt concerned about her

reputation, and ultimately fled to her parents’ home, though once again Plaintiffs do not say for

how long or how that affected her access to educational opportunities. Id. ¶ 172. I have no doubt

that some Plaintiffs were emotionally impacted by the foment on campus. But self-censorship and

purely social and reputational harms do not amount to a concrete deprivation of educational

benefits.

       As stated in my previous opinion dismissing Plaintiffs’ claims, Title VI has a high pleading

standard. In part due to maintaining their insistence on litigating in anonymity, Plaintiffs have

failed in their third attempt to articulate with requisite specificity any concrete resultant harm that

                                                  32
has stemmed from their alleged harassment. Even if the incidents alleged fell outside the realm of

protected speech or demonstrated an instance where Haverford was deliberately indifferent, in a

total of 139 pages of pleading, Plaintiffs do not articulate a single concrete deprivation of

educational benefits. Plaintiffs must make their case, and they have failed to do so. Plaintiffs’

Title VI hostile environment claim will be dismissed.

               Breach of Contract

       Plaintiffs have also amended their contract claim. Plaintiffs allege that although they filed

complaints to Haverford about many of the instances detailed above, they did not receive any

response, violating the policies that Haverford represents as active on their website. The absence

of demonstrable harm does not prohibit this claim, because Pennsylvania law permits contract

claims for nominal damages. Thorsen v. Iron & Glass Bank, 476 A.2d 928, 931 (Pa. Super. 1984).

       Plaintiffs allege that Haverford failed to evenhandedly enforce its “Anti-Discrimination,

Harassment, and Bias Policy.” SAC ¶¶ 186-89. To state a claim for breach of contract, a plaintiff

must “set forth facts regarding (1) the existence of a contract, including its essential terms; (2) a

breach of duty imposed by the contract; and (3) resultant damages.” Doe v. Haverford Coll., No.

23-299, 2023 WL 5017964, at *5 (E.D. Pa. Aug. 7, 2023) (McHugh, J.) (citing McShea v. City of

Phila., 995 A.2d 334, 340 (Pa. 2010)). Under Pennsylvania law, relationships between private

colleges and their students are contractual in nature. Kimberg v. Univ. of Scranton, No. 06-1209,

2007 WL 405971, at *3 (M.D. Pa. Feb. 2, 2007) (citing Swartley v. Hoffner, 734 A.2d 915, 919

(Pa. Super. 1999)). “Written guidelines, policies, and procedures” distributed to students over the

course of enrollment may constitute the terms of such contracts. Id.

       For a college policy to amount to a contract enforceable in federal court, it “must identify

a specific promise or promises on which to base a cause of action, and non-discrimination policies

                                                 33
are often – but not always – too aspirational and general to be actionable.” Canaan, 760 F.Supp.3d

at 335 (citations omitted). Courts “discern whether [the College’s] policies contain specific and

identifiable promises worthy of contractual enforcement or are more akin to ubiquitous policies in

higher education that signal virtuous aspirations but are unworthy of contractual reliance by their

students for lacking ‘any sort of affirmative, enforceable duty on the part of the institution.’” Id.

(citing David v. Neumann Univ., 187 F.Supp.3d 554, 560 (E.D. Pa. 2016)).

                1.       Existence of a Valid Contract

        Plaintiffs rely on a combination of two Haverford documents as the basis for their claim.

They first allege that Haverford has breached its promise set forth in its Non-Discrimination

Statement to provide an employment and educational environment free from all forms of unlawful

discrimination on the basis of “religion, national origin, ancestry, citizenship . . . or any other

characteristic protected by law.” SAC ¶ 185. Plaintiffs then allege that this Non-Discrimination

policy is enforceable through the College’s Anti-Discrimination, Harassment, and Bias Policy

(“Bias Policy”), which itself is a binding contract, and details a series of procedures that Haverford

has failed to follow. Id. ¶¶ 185-86. Plaintiffs attach what they contend is an active and binding

version of the Bias Policy that they downloaded from Haverford’s website. Pls.’ Resp. to Mot. to

Dismiss at 17, ECF 44. Plaintiffs also plead that the policy is directly adjacent to the portal where

students can, and did, submit “bias incidents.” 15 Id. at 18.




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   In a sworn declaration, Plaintiffs’ counsel also avers that he traced historical versions of the webpage
hosting Haverford’s Bias Policy, and that the page has been active for longer than Haverford maintains.
Plaintiffs note that while at some point in time the document contained language that it was under review,
later versions of that document have since removed the language. Adding to their argument that the Policy
was in force, Plaintiffs explain that the webpage hosting the Policy uses present tense to discuss the Policy
and its operation, supporting an inference that the procedures represented in the Policy were current.


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        Haverford disputes the validity of the contract, pointing to the fact that the attached PDF

of the Bias Policy, the same Bias Policy that was linked on Haverford’s website on the date of oral

argument, is clearly labeled as a “draft.” Mot. to Dismiss at 23-24. Haverford argues that because

the Policy was designated as a draft, it was not in force during any of the incidents alleged. Id.

Notably, Haverford does not provide any alternative policy that was in place, further asserting that

even if the Court finds that the Bias Policy was operative, Plaintiffs’ allegations of breach are too

vague to state a contract claim.

        As a threshold matter, I take it as highly plausible that some bias policy existed at Haverford

during the 2023-2024 academic year. Haverford offers no explanation as to why a non-operative

Bias Policy would be hosted on Haverford’s website, directly adjacent to a live portal to submit

bias incidents. At a minimum, students would have reasonably believed that there was a policy

under which complaints could be submitted. And surely whatever bias policy existed would allow

recourse for instances of antisemitism, unless Haverford would have me infer that it had no concern

for its Jewish students. So whatever hard to imagine rationalization Haverford might offer for

obscuring the content of its actual bias policy – an artifice reminiscent of Dean Wormer’s “double

secret probation” – I find the demarcation “draft” to be of no legal import. 16 Moreover, I am

obligated at this stage to accept Plaintiffs’ allegation that a bias policy was operative (whether the

posted draft policy or a different unspecified policy). Dismissal of the contract claim pre-discovery

on this ground would be premature. 17


16
  When asked at argument how a student with a bias concern could have proceeded, Haverford’s counsel
replied that he presumed the student would contact the President’s office for guidance.
17
  In the interim period between oral argument and this opinion, Haverford appears to have updated its bias
policy and its link on their website, a point of interest, albeit legally irrelevant here.


                                                   35
               2.      Terms of the Contract and its Breach

       Turning to the terms of the contract and its alleged breach, Plaintiffs cannot state a contract

claim based on the Non-Discrimination Statement alone, for it is purely aspirational language that

lacks the specificity to constitute enforceable promises. See Canaan, 760 F.Supp.3d at 335-36

(finding that the College’s Statement of Assurance, promising that the school “does not

discriminate,” was too aspirational and non-specific to support a breach of contract claim).

       But Plaintiffs plausibly allege that the Bias Policy contains clear contractual promises that

Haverford has breached. Under the Bias Policy, the College “is required to conduct a thorough

inquiry and address all reports of bias incidents of which it becomes aware.” SAC ¶ 22. Once a

complaint is filed, a Bias Reporting Committee (“BRC”), including Vice President Young and

Dean McKnight, performs an “initial screening process and determines whether the case will

proceed.” Id. If the BRC determines that the incident “does not constitute an act of violation of

the policy,” the BRC “will communicate with the reporting individuals to inform them of the

decision.” Id. (emphasis added). If the BRC determines that “there is sufficient information in

the report for potential violation of the policy,” the matter is escalated to a Bias Incident Response

Team (“BIRT), who then determines whether there is a sufficient basis to launch a formal

investigation. Id. If a formal investigation is found warranted, the BIRT will inform the reporting

individual with a written notice. Id.

       Plaintiffs contend that they filed reports through Haverford’s bias incident portal about

many of the instances discussed herein. 18 Id. ¶ 191. Plaintiffs also contend that they did not


18
  In attempting to provide additional clarity about the complaints lodged with Haverford in this action,
Plaintiffs have made it apparent that many complaints in this case were raised by parents and community
members, not students. Haverford’s internal bias reporting policies specifically recognizes parents as
designated parties who may submit complaints through the bias incident portal. See ECF 35-1 at 10. But

                                                  36
receive any response or observe any remediation regarding any of their reported incidents. Id. ¶

189. This would imply that no incidents were considered at the initial BRC stage, for even if a

bias complaint is ultimately terminated at this stage, Haverford is still obligated under the Bias

Policy to “communicate with the reporting individuals to inform them of their decision.” Id. ¶ 22.

At the very least, Plaintiffs were due notice that their investigations were terminated upon initial

BRC review. But Plaintiffs aver that the complainants here never received such communication.

       Discovery will shed light on how many complaints were in fact filed, and what happened

to complaints received.      If the College never communicated further with each individual

complainant here, Plaintiffs cannot know whether their complaints were appropriately

investigated, and allegations that complainants did not receive a response would support an

inference that their complaints were not investigated. See Canaan, 760 F.Supp.3d at 335-36

(where the Court found that the Retaliation Policy was not merely aspirational, and instead

promised that violators of the policy would be subject to reasonable disciplinary action). Failure

to conduct an initial review and notify Plaintiffs of the outcome of that review would itself

constitute a breach of the plain terms of the Bias Policy. Plaintiffs therefore plausibly allege that

Haverford failed to honor its Bias Policy, and therein breached their contract.

               3.      Resultant Harm

       Although Plaintiffs plausibly plead the existence of a contract and breach, none of

Plaintiffs’ allegations demonstrate resultant harm. To the extent that Plaintiffs seek compensatory

damages for a diminution in the value of their education, there are insufficient facts pled to support




this additional revelation, that students themselves were not the moving force in many instances, would
seem to shed further light on the weakness of the Title VI claims asserted.


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such a theory. SAC ¶ 194. But under Pennsylvania law, a plaintiff may recover nominal damages

where they have shown a breach of contract, even if they are unable to show damages flowing

from the breach. Thorsen, 476 A.2d at 931. Plaintiffs’ breach of contract claim seeking nominal

damages thus survives. 19 See Garcia v. Vertical Screen, 592 F.Supp.3d 409, 428 (E.D. Pa. 2022)

(“Because nominal damages are available for breach of contract under Pennsylvania law, courts

have refused to grant summary judgment on a breach of contract claim solely because a party has

not established damages.”). 20

IV.     Conclusion

        Antisemitism is ugly and persistently stubborn. But while judges may reflect on the

broader world, they can only rule on the facts before them. For the reasons set forth above,

Defendant’s Motion to Dismiss will be granted as to Plaintiffs’ Title VI claim and denied as to

Plaintiffs’ contract claim.


19
   The Court recognizes that Haverford has obligations to protect the privacy of students and participants in
its disciplinary process. But courts are forums well-equipped to navigate these concerns through the use of
protective orders that incorporate appropriate safeguards.
20
  At this stage, Plaintiffs have standing to pursue their breach of contract claim alone moving forward. The
individual named Plaintiffs were all students at some point prior to the pendency of the litigation, making
them parties to the contract and directly impacted by the breach. Jews at Haverford also still has
associational standing. The Hunt factors for associational standing require that 1) at least one Plaintiff
would have standing to sue in their own right, 2) the interests the organization seeks to protect are “germane
to the organization’s purpose,” and 3) the claims and types of relief requested do not require individual
participation of the members. Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 342-43 (1977).
At least one student member of Jews at Haverford would have standing to sue for the breach of contract in
their own right, and the organization surely has an interest in ensuring that Haverford’s bias reporting
system treats Jewish students committed to Israel equally. And while suits for monetary damages are
generally inappropriate for associational standing due to the individualized determinations that are inherent
to such a suit, where Plaintiffs’ only available relief is a nominal damages award, individual plaintiffs need
not participate for the claim’s vindication. See Clark v. McDonald’s Corp., 213 F.R.D. 198 (D.N.J. 2003)
(“there may be an exception to the rule forbidding associational standing on damages claims where an
association seeks only nominal damages on behalf of its members without reference to their individual
circumstances.”). If, however, discovery ultimately reveals facts that undermine any element of the
standing analysis, the case may still be dismissed on that basis for want of jurisdiction.


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        This dismissal is with prejudice. Plaintiffs have now filed three complaints, involving

several rounds of briefing, a detailed memorandum from this Court specifically addressing the

pleadings’ shortcomings, and oral argument. Even where an issue is important, as antisemitism

certainly is, a legal claim rises and falls on the facts, and Plaintiffs here have failed in three separate

attempts to present facts sufficient to state a Title VI claim. See In re: Domestic Drywall Antitrust

Litig., No 13-2437, 2016 WL 3453147, at *4 (E.D. Pa. June 22, 2016) (holding that dismissal with

prejudice was warranted where “Defendants have already expended resources filing motions to

dismiss in response to each of Plaintiffs’ three complaints,” and “Plaintiffs have thus had two

opportunities to amend their complaint to respond to Defendants’ argument.”). Oral argument was

suffused with emotional rhetoric, giving this Court little comfort in the prospect for further

refinement of facts adequate to support a claim.

        An appropriate order follows.


                                                                  /s/ Gerald Austin McHugh
                                                                 United States District Judge




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